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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




PIERRE FATTOUCH
Saint Michel Street - Fattouch Blg
Lebanon - Zahleh

MOUSSA FATTOUCH
Saint Michel Street - Fattouch Blg
Lebanon - Zahleh

UNITED LEBANESE QUARRIES AND
CRUSHERS COMPANY S.A.L.
Fattouch Building
Haouch El Omara - Bassatine Street
Lebanon - Zahleh
                                                            Case No. ___________
              Plaintiffs

                  v.

THE REPUBLIC OF LEBANON,
Its Ministries, Agencies, and Instrumentalities
c/o Ministry of Justice
Sami Soloh Street – Adlieh Area, 5th Floor
Beirut Lebanon

HER EXCELLENCY MARIE-CLAUD NAJIM
MINISTRY OF JUSTICE
Minister of Justice
Sami Soloh Street – Adlieh Area, 5th Floor
Beirut Lebanon

             Defendant State.


                                         COMPLAINT

       MESSRS. PIERRE and MOUSSA FATTOUCH, and UNITED LEBANESE QUARRIES
AND CRUSHERS COMPANY S.A.L. (ULQACC S.A.L.), (Plaintiffs), represented by the law
firm Poblete Tamargo LLP, file this COMPLAINT against the Republic of Lebanon (the
Defendant State), and upon personal knowledge as to its own acts and information and belief, acts:
